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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                          RESPONDENT

v.                                Case No. 4:11-cr-040037-001
                                     Case No. 4:14-cv-4155

GREGORY LEWIS                                                                          MOVANT


                                            ORDER

       Before the Court is the Report and Recommendation filed February 18, 2016 by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

(ECF No. 1672). Judge Bryant recommends that Movant’s Motion to Vacate, Set Aside, or Correct

Sentence be denied.

       The parties have not filed objections to the Report and Recommendation, and the time to

object has passed. See 28 U.S.C. § 636(b)(1). The Court adopts the Report and Recommendation

in toto. Accordingly, Defendants’ Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. § 2255 (ECF No. 1672) should be and hereby is DENIED. Pursuant to 28 U.S.C. §1915(a),

the Court finds that an appeal from the denial of this motion would not be taken in good faith.

       IT IS SO ORDERED, this 8th day of March, 2016.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            United States District Judge
